
Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by the Defendant (City of High Point) on the 20th day of June 2006 in this matter pursuant to G.S. 7A-30, and the motion to dismiss the appeal for lack of substantial constitutional question filed by the Defendant (Guilford County Brd. of Ed.), the following order was entered and is hereby certified to the North Carolina Court of Appeals: the motion to dismiss the appeal is
"Allowed by order of the Court in conference, this the 27th day of June 2007."
*846Upon consideration of the petition filed on the 20th day of June 2006 by Defendant (City of High Point) in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 27th day of June 2007."
